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In the Ghuted States Court of Federal Clans
No. 15-1388T

(Filed: March 17, 2017)

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LOUIS J. SAGER, * FILED
*
Plaintiff, ‘ MAR 17 2017
* U.S. COURT OF
, ¥ FEDERAL CLaims
*
THE UNITED STATES, *
*
Defendant. *
*
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DISMISSAL FOR FAILURE TO PROSECUTE

The Court, by its own motion, dismisses Mr. Sager’s complaint for failure to
prosecute under Rule 41(b) of the Court of Federal Claims (“RCFC”). On January 23,
2017, the Government filed a motion for summary judgment. Dkt. No. 10, Mr. Sager
failed to respond to the Government’s motion by the Court’s February 23, 2017 deadline.
On March 9, 2017, the Court issued an order directing Mr. Sager to respond to the
Government’s motion by March 16, 2017, including a statement explaining why the Court
should not dismiss Mr. Sager’s complaint for failure to prosecute. Dkt. No. 17. In its
order, the Court warned Mr. Sager that failure to comply with the Court’s order would
result in dismissal of his complaint. Id. Mr. Sager did not file a response on or before
March 16, 2017.

RCFC 41(b) provides that “[i]f the plaintiff fails to prosecute or comply with these
rules or a court order, the court may dismiss on its own motion or the defendant may move
to dismiss the action or any claim against it.” Rule 41(b) is a necessary tool to ensure
efficient docket management and prevent undue delays in litigation. Link v. Wabash R.R.
Co., 370 U.S. 626, 629-30 (1962). “While dismissal of a claim is a harsh action, especially
to a pro se litigant, it is justified when a party fails to pursue litigation diligently and
disregards the court’s rules and show cause order.” Whiting v. United States, 99 Fed. Cl.
13, 17 (2011) (citing Kadin Corp. v. United States, 782 F.2d 175, 176-77 (Fed. Cir. 1986)).
Here, Mr. Sager failed to respond to the Government’s motion for summary judgment and

 

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to the Court’s show cause order. Dismissal is therefore not only appropriate, but required
to maintain judicial efficiency and conserve court resources.

Accordingly, this case is DISMISSED, without prejudice, for failure to prosecute in
accordance with Rule 41(b). The Clerk is directed to enter judgment for the Government.

IT IS SO ORDERED.

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THOMAS C, WHEELER
Judge

 

 
